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28                                                      STIPULATION AND ORDER TO FILE FIRST
                                                                      AMENDED COMPLAINT
                                                               CASE NO. 2:21-CV-00730-TLN-DB
        Case 2:21-cv-00730-TLN-DB Document 14 Filed 08/02/21 Page 2 of 4


     Attorneys for Defendants
 1   SANOFI-AVENTIS U.S. LLC
 2   and SANOFI U.S. SERVICES INC.

 3
 4
                                  UNITED STATES DISTRICT COURT
 5
                                 EASTERN DISTRICT OF CALIFORNIA
 6
                                        SACRAMENTO DIVISION
 7
 8   TERESA VEGA,                                      Case No. 2:21-CV-00730-TLN-DB

 9                 Plaintiff,                          STIPULATION AND ORDER FOR
                                                       PLAINTIFF TO FILE FIRST AMENDED
10                                                     COMPLAINT
             v.
11   SANOFI US SERVICES, INC., et al.,
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                   Defendants.
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18          Pursuant to Federal Rule of Civil Procedure 15(a)(2), Defendants Sanofi US Services, Inc. and
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     Sanofi-Aventis US LLC hereby consent to Plaintiff Teresa Vega filing a First Amended Complaint in
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     this action. The parties have stipulated that Plaintiff will file her First Amended Complaint on or
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     before August 1, 2021.
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28                                                               STIPULATION AND ORDER TO FILE FIRST
                                                                               AMENDED COMPLAINT
                                                                        CASE NO. 2:21-CV-00730-TLN-DB
        Case 2:21-cv-00730-TLN-DB Document 14 Filed 08/02/21 Page 3 of 4



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 2
      Dated: July 30, 2021                              Respectfully Submitted,
 3
 4    FITZPATRICK SPINI & SWANSTON                      SHOOK, HARDY & BACON L.L.P.
      By: /s/ Bernard Fitzpatrick___                    By: /s/ Amir Nassihi
 5            Bernard Fitzpatrick                               Amir Nassihi
 6                                                              Harley Ratliff
                                                                Jon Strongman
 7                                                              Torrey Peterson
 8    HOTZE RUNKLE LLC
      By: /s/ Karen Shanks_______
 9
              Karen C. Shanks
10            Patrick Hotze

11    RMP LAW GROUP LLC
      By: /s/ Richard M. Paul_____
12            Richard M. Paul
13
      Attorneys for Plaintiff                           Attorneys for Defendant
14    TERESA VEGA                                       Sanofi U.S. Services Inc., et al.

15
16                                  ATTESTATION OF SIGNATURE
17
18          Pursuant to Civil L.R. 131(e), the undersigned hereby attests that concurrence in the filing of

19   this document has been obtained from all signatories hereto.

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21
     Dated: July 30, 2021                                By: /s/ Richard M. Paul_____
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                                                         Richard M. Paul
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28                                                                  STIPULATION AND ORDER TO FILE FIRST
                                                                                  AMENDED COMPLAINT
                                                                           CASE NO. 2:21-CV-00730-TLN-DB
         Case 2:21-cv-00730-TLN-DB Document 14 Filed 08/02/21 Page 4 of 4


                                                   ORDER
 1
            Having read the Parties’ stipulation, IT IS HEREBY ORDERED THAT: Plaintiff Teresa Vega
 2
 3   shall have leave to file her First Amended Complaint in this action, per the stipulation of the parties

 4   and the written consent of Defendants Sanofi US Services, Inc. and Sanofi-Aventis US LLC.
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     PURSUANT TO STIPULATION IT IS SO ORDERED.
 6
 7   Dated: July 30, 2021
 8
 9                                                               Troy L. Nunley
                                                                 United States District Judge
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28                                                                STIPULATION AND ORDER TO FILE FIRST
                                                                                AMENDED COMPLAINT
                                                                         CASE NO. 2:21-CV-00730-TLN-DB
